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                              UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Sherell Robinson, individually and on behalf of all
others similarly situated;                                                          2:19-cv-00458-DCN
                                                                  Civil Action No: ____________
                                        Plaintiff,
                                                                         CLASS ACTION
                                                                          COMPLAINT

                                                                  DEMAND FOR JURY TRIAL




        -v.-




Midland Credit Management, Inc.,
Midland Funding, LLC
and John Does 1-25.


                                       Defendant.



Plaintiff Sherell Robinson (hereinafter, “Plaintiff” or Robinson”), a South Carolina resident, brings

this Class Action Complaint by and through her attorneys, Norsworthy Law, against Defendants

Midland Credit Management, Inc. (hereinafter “Defendant Midland Credit”) and Midland

Funding, LLC (hereinafter “Defendant Midland Funding”), individually and on behalf of a class

of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based

upon information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.


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                INTRODUCTION/PRELIMINARY STATEMENT

 1.     Congress enacted the Fair Debt Collection Practices Act (hereinafter “the FDCPA”)

 in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and unfair

 debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time,

 Congress was concerned that "abusive debt collection practices contribute to the number of

 personal bankruptcies, to material instability, to the loss of jobs, and to invasions of

 individual privacy." Id. Congress concluded that "existing laws…[we]re inadequate to

 protect consumers," and that "'the effective collection of debts" does not require

 "misrepresentation or other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

 2.     Congress explained that the purpose of the Act was not only to eliminate abusive

 debt collection practices, but also to "insure that those debt collectors who refrain from

 using abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e).

 “After determining that the existing consumer protection laws ·were inadequate.” Id. §

 l692(b), Congress gave consumers a private cause of action against debt collectors who fail

 to comply with the Act. Id. § 1692k.

                            JURISDICTION AND VENUE

 3.     The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

 15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in

 this action pursuant to 28 U.S.C. § 1367(a).

 4.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

 where a substantial part of the events or omissions giving rise to the claim occurred.
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                                NATURE OF THE ACTION

 5.     Plaintiff brings this class action on behalf of a class of South Carolina consumers

 under §1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair

 Debt Collections Practices Act ("FDCPA"), and

 6.     Plaintiff is seeking damages and declaratory relief.

                                        PARTIES

 7.     Plaintiff is a resident of the State of South Carolina, County of Georgetown,

 residing at 301 E Ashland St, Lot 7 Andrews, SC 29510.

 8.     Defendant Midland Credit is a "debt collector" as the phrase is defined in 15 U.S.C.

 § 1692(a)(6) and used in the FDCPA with an address at 3111 Camino Del Rio North Ste

 103, San Diego, CA 92108 and may be served with process upon the Corporation Service

 Company, its registered agent for service of process at Corporation Service Company, 1703

 Laurel Street, Columbia, South Carolina 29201.

 9.     Upon information and belief, Defendant Midland Credit is a company that uses the

 mail, telephone, and facsimile and regularly engages in business the principal purpose of

 which is to attempt to collect debts alleged to be due another.

 10.    Defendant Midland Funding is a "debt collector" as the phrase is defined in 15

 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 3111 Camino Del Rio North

 Ste 103, San Diego, CA 92108 and may be served with process upon the Corporation

 Service Company, its registered agent for service of process at Corporation Service

 Company, 1703 Laurel Street, Columbia, South Carolina 29201.
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 11.    Upon information and belief, Defendant Midland Funding is a company that uses

 the mail, telephone, and facsimile and regularly engages in business the principal purpose

 of which is to attempt to collect debts alleged to be due another.

 12.    John Does l-25, are fictitious names of individuals and businesses alleged for the

 purpose of substituting names of Defendants whose identities will be disclosed in

 discovery and should be made parties to this action.

                                 CLASS ALLEGATIONS
 13.    Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

 P. 23(a) and 23(b)(3).

 14.    The Class consists of:

        a. all individuals with addresses in the State of South Carolina;

        b. to whom Defendant Midland Credit sent a collection letter attempting to collect

            a consumer debt;

        c. on behalf of Defendant Midland Funding;

        d. containing settlement offers;

        e. without disclosing that if payment is made, it will restart the statute of

            limitations;

        f. and using language implying that the Defendant has voluntarily chosen not to

            sue;

        g. which letter was sent on or after a date one (1) year prior to the filing of this

            action and on or before a date twenty-one (2l) days after the filing of this action.
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 15.    The identities of all class members are readily ascertainable from the records of

 Defendants and those companies and entities on whose behalf they attempt to collect and/

 or have purchased debts.

 16.    Excluded from the Plaintiff Class are the Defendants and all officer, members,

 partners, managers, directors and employees of the Defendants and their respective

 immediate families, and legal counsel for all parties to this action, and all members of their

 immediate families.

 17.    There are questions of law and fact common to the Plaintiff Class, which common

 issues predominate over any issues involving only individual class members. The principal

 issue is whether the Defendants' written communications to consumers, in the forms

 attached as Exhibit A, violate 15 U.S.C. §§ l692e.

 18.    The Plaintiff’s claims are typical of the class members, as all are based upon the

 same facts and legal theories. The Plaintiff will fairly and adequately protect the interests

 of the Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with

 experience in handling consumer lawsuits, complex legal issues, and class actions, and

 neither the Plaintiff nor her attorneys have any interests, which might cause them not to

 vigorously pursue this action.

 19.    This action has been brought, and may properly be maintained, as a class action

 pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there

 is a well-defined community interest in the litigation:
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      a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

         that the Plaintiff Class defined above is so numerous that joinder of all

         members would be impractical.

      b. Common Questions Predominate: Common questions of law and fact exist as

         to all members of the Plaintiff Class and those questions predominance over

         any questions or issues involving only individual class members. The principal

         issue is whether the Defendants' written communications to consumers, in the

         forms attached as Exhibit A violate 15 USC §l692e.

      c. Typicality: The Plaintiff’s claims are typical of the claims of the class

         members. The Plaintiff and all members of the Plaintiff Class have claims

         arising out of the Defendants' common uniform course of conduct complained

         of herein.

      d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

         class members insofar as Plaintiff has no interests that are adverse to the absent

         class members. The Plaintiff is committed to vigorously litigating this matter.

         Plaintiff has also retained counsel experienced in handling consumer lawsuits,

         complex legal issues, and class actions. Neither the Plaintiff nor her counsel

         have any interests which might cause them not to vigorously pursue the instant

         class action lawsuit.

      e. Superiority: A class action is superior to the other available means for the fair

         and efficient adjudication of this controversy because individual joinder of all

         members would be impracticable. Class action treatment will permit a large
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            number of similarly situated persons to prosecute their common claims in a

            single forum efficiently and without unnecessary duplication of effort and

            expense that individual actions would engender.

 20.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

 is also appropriate in that the questions of law and fact common to members of the Plaintiff

 Class predominate over any questions affecting an individual member, and a class action is

 superior to other available methods for the fair and efficient adjudication of the

 controversy.

 21.    Depending on the outcome of further investigation and discovery, Plaintiff may, at

 the time of class certification motion, seek to certify a class(es) only as to particular issues

 pursuant to Fed. R. Civ. P. 23(c)(4).


                                 FACTUAL ALLEGATIONS

 22.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

 numbered above herein with the same force and effect as if the same were set forth at

 length herein.

 23.    Some time prior to February 28, 2018 an obligation was allegedly incurred to

 Synchrony Bank.

 24.    The Synchrony Bank obligation arose out of transactions in which money, property,

 insurance or services, which are the subject of the transaction, were primarily for personal,

 family or household purposes, specifically a JCPenney store card.
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 25.     The alleged Synchrony Bank obligation is a "debt" as defined by 15 U.S.C.§

 1692a(5).

 26.     Defendant Midland Funding purportedly purchased the alleged Synchrony Bank

 JCPenney debt.

 27.     Defendant Midland Funding, contracted with the Defendant Midland Credit to

 collect the alleged debt.

 28.     Defendants Midland Credit and Defendant Midland Funding collect and attempt to

 collect debts incurred or alleged to have been incurred for personal, family or household

 purposes on behalf of creditors using the United States Postal Services, telephone and

 internet.


                         Violation February 28, 2018 Collection Letter

 29.     On or about February 28, 2018, Defendant Midland Credit sent Plaintiff an initial

 collection letter (the “Letter”) regarding the alleged debt owed to Defendant Midland

 Funding. See Exhibit A.

 30.     The letter states in part: “The law limits how long you can be sued on a debt.

 Because of the age of your debt, we will not sue you for it. If you do not pay the debt, we

 may continue to report it to the credit agencies as unpaid.”


 31.     The letter contains an invitation for the Plaintiff to make payments with multi

 month payment plans.


 32.     The Defendant fails to inform the consumer that making a partial payment plan will

 restart the statute of limitations for a lawsuit to occur.
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     33.     Under South Carolina Statutes §15-3-120, a payment of principal or interest can

     take a case out of the operation of the statute of limitations.


     34.     The letter does not mention the ramifications of a payment under South Carolina

     law, specifically, that a payment will restart the statute of limitations.


     35.     The Defendants’ omission could likely lead to the Plaintiff choosing a payment

     option with multiple payments and thereby unknowingly cause her to restart the statute of

     limitations.


     36.     Furthermore, the letter’s language of “we will not sue” implies that the Defendant

     has chosen not to sue, rather than the actual reality that the Defendant or any subsequent

     creditor is currently barred by law from filing a suit.

     37.     The letter could mislead the Plaintiff to assume that the time-barred debt is legally

     enforceable and is within the Defendant’s discretion whether to sue or not, and more so

     that another collector could in fact choose to sue the Plaintiff.

     38.     As a result of Defendants’ deceptive, misleading and unfair debt collection

     practices, Plaintiff has been damaged.



                              COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e et
                                seq.
     39.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     above herein with the same force and effect as if the same were set forth at length herein.
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 40.    Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

 violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

 41.    Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

 misleading representation or means in connection with the collection of any debt.

 42.    Defendants violated said section

        a.      by creating a false and misleading representation of the legal status of the

 debt in violation of §1692e (10); and

        b.      by falsely representing the character, amount or legal status of the debt in

 violation of §1692e(2)(A);

 43.    By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

 conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages,

 costs and attorneys’ fees.

                                         COUNT II
 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
 §1692f et seq.


 44.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

 above herein with the same force and effect as if the same were set forth at length herein.

 45.    Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

 violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

 46.    Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

 unconscionable means in connection with the collection of any debt.
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       47.     Defendants violated this section by omitting material information that gave Plaintiff

       a false understanding of the true and proper legal status of the debt.

       48.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

       conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages,

       costs and attorneys’ fees.

                                DEMAND FOR TRIAL BY JURY

       49.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

       requests a trial by jury on all issues so triable.



                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff Sherell Robinson, individually and on behalf of all others similarly

situated, demands judgment from Defendant Midland Credit Management Inc, and Defendant

Midland Funding LLC, as follows:

       1.      Declaring that this action is properly maintainable as a Class Action and certifying

       Plaintiff as Class representative, and Ken Norsworthy, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

       expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and
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 6.     Awarding Plaintiff and the Class such other and further relief as this Court may

 deem just and proper.

 Dated: February 15, 2019


                                           Norsworthy Law, LTD. CO.,

                                                  /s/ Ken Norsworthy
                                                  By: Ken Norsworthy
                                                  505 Pettigru St
                                                  Greenville, SC, 29601
                                                  Phone: (864) 804-0581
                                                  Attorneys For Plaintiff
